         Case 1:21-cv-03290-CJN Document 20 Filed 09/16/22 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 AMY HARRIS,

                               Plaintiff,

                v.
                                                         No. 1:21-cv-03290-CJN
 U.S. HOUSE SELECT COMMITTEE
 TO INVESTIGATE THE JANUARY 6TH
 ATTACK ON THE UNITED STATES
 CAPITOL, et al.,

                               Defendants.


                     EIGHTH CONSENT MOTION TO EXTEND TIME
                          FOR DEFENDANTS TO RESPOND

       Pursuant to Local Rule 7 and the Court’s Standing Order for Civil Cases (ECF No. 6),

Defendants the United States House Select Committee to Investigate the January 6th Attack on

the United States Capitol, and the Honorable Bennie G. Thompson, respectfully move for an

eighth extension of time to respond to Plaintiff’s Complaint.

       Plaintiff Amy Harris filed her Complaint (ECF No. 1) on December 15, 2021. Pursuant

to Federal Rule of Civil Procedure 12(a)(3), the response to Plaintiff’s Complaint was originally

due on February 28, 2022, 60 days after service of the summons and original complaint on the

U.S. Attorney for the District of Columbia. See ECF No. 11; see also Fed. R. Civ. P. 12(a)(3).

On February 25, 2022, Defendants sought a 21-day extension of the deadline to respond to the

Complaint (ECF 13), which was granted by the Court. See Minute Order, Feb. 28, 2022 (setting

new date for responsive pleading of March 21, 2022). On March 18, 2022, Defendants sought a

30-day extension of the deadline to respond (ECF 14), which was granted by the Court. See

Minute Order, Mar. 21, 2022 (setting new date for responsive pleading of April 20, 2022). On
          Case 1:21-cv-03290-CJN Document 20 Filed 09/16/22 Page 2 of 4




April 14, 2022, Defendants sought a 30-day extension of the deadline to respond (ECF 15),

which was granted by the Court. See Minute Order, Apr. 15, 2022 (setting new date for

responsive pleading of May 20, 2022). On May 17, 2022, Defendants sought a 45-day extension

of the deadline to respond (ECF 16), which was granted by the Court. See Minute Order, May

19, 2022 (setting new date for responsive pleading of July 5, 2022). On June 26, 2022,

Defendants sought a 30-day extension of the deadline to respond (ECF 17), which was granted

by the Court. See Minute Order, June 30, 2022 (setting new date for responsive pleading of

August 4, 2022). On July 29, 2022, Defendants sought a 30-day extension of the deadline to

respond (ECF 18), which was granted by the Court. See Minute Order, Aug. 3, 2022 (setting

new date for responsive pleading of September 6, 2022). On September 2, 2022, Defendants

sought a 14-day extension to the deadline to respond (ECF 19), which was also granted by the

Court. See Minute Order, Sept. 2, 2022 (setting new date for responsive pleading of September

20, 2022). Defendants now seek an additional 45-day extension, until November 4, 2022.

       Defendants require additional time to evaluate and consider their strategic approach in

light of the Select Committee’s continued investigation. There are no existing deadlines that will

be affected by the granting of this motion.

       Pursuant to Local Rule 7(m), the parties’ counsel conferred about a proposed extension of

time, and Plaintiff consents to a 45-day extension.

                                                      Respectfully submitted,

                                                      /s/ Douglas N. Letter
                                                      Douglas N. Letter (D.C. Bar No. 253492)
                                                      General Counsel
                                                      Todd B. Tatelman (VA Bar No. 66008)
                                                      Eric R. Columbus (D.C. Bar No. 487736)
                                                      OFFICE OF GENERAL COUNSEL
                                                      U.S. HOUSE OF REPRESENTATIVES
                                                      5140 O’Neill House Office Building

                                                 2
        Case 1:21-cv-03290-CJN Document 20 Filed 09/16/22 Page 3 of 4




                                          Washington, D.C. 20515
                                          (202) 225-9700
                                          Douglas.Letter@mail.house.gov
September 16, 2022                        Counsel for Defendants




                                      3
         Case 1:21-cv-03290-CJN Document 20 Filed 09/16/22 Page 4 of 4




                                CERTIFICATE OF SERVICE


       I hereby certify that on September 16, 2022, I caused the foregoing document to be filed

via the CM/ECF system for the U.S. District Court for the District of Columbia, which I

understand caused a copy to be served on all registered parties.



                                                     /s/ Douglas N. Letter
                                                     Douglas N. Letter
